Case 1:23-cv-00575-JAO-BMK Document 4 Filed 12/07/23 Page 1 of 2 PageID.780



 PAUL ALSTON                               1126
 NICKOLAS A. KACPROWSKI                    8627
 WENDY F. HANAKAHI                         7963
 NATHAN P. SHIMODOI                        11027

 DENTONS US LLP
 1001 Bishop Street, Suite 1800
 Honolulu, Hawai`i 96813-3689
 Telephone: (808) 524-1800
 Facsimile: (808) 524-4591
 Email: paul.alston@dentons.com
        nickolas.kacprowski@dentons.com
        wendy.hanakahi@dentons.com
        nathan.shimodoi@dentons.com
 Attorneys for Defendants
 ELLIOT KAWAIHO‘OLANA MILLS,
 CRYSTAL KAUILANI ROSE,
 JENNIFER NOELANI GOODYEAR-
 KA‘ŌPUA, MICHELLE KA‘UHANE,
 ROBERT K.W.H. NOBRIGA, TRUSTEES
 OF THE ESTATE OF BERNICE PAUAHI
 BISHOP

                         IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAI`I

 HAROLD DENNIS WELLS,                          Case No. 1:23-cv-00575-JAO-BMK
 individually and on behalf of the heirs
 of REBECCA RANS,
                                               NOTICE OF APPEARANCE OF
                        Plaintiff,             COUNSEL FOR DEFENDANTS
                                               ELLIOT KAWAIHO‘OLANA
          vs.                                  MILLS, CRYSTAL KAUILANI
                                               ROSE, JENNIFER NOELANI
 MAUI ELECTRIC COMPANY,
                                               GOODYEAR-KA‘ŌPUA,
 LIMITED, et al.,
                                               MICHELLE KA‘UHANE,
                        Defendants.            ROBERT K.W.H. NOBRIGA,
                                               TRUSTEES OF THE ESTATE OF
                                               BERNICE PAUAHI BISHOP


10108348\000072\125659826\V-1
Case 1:23-cv-00575-JAO-BMK Document 4 Filed 12/07/23 Page 2 of 2 PageID.781



NOTICE OF APPEARANCE OF COUNSEL FOR DEFENDANTS ELLIOT
 KAWAIHO‘OLANA MILLS, CRYSTAL KAUILANI ROSE, JENNIFER
    NOELANI GOODYEAR-KA‘ŌPUA, MICHELLE KA‘UHANE,
   ROBERT K.W.H. NOBRIGA, TRUSTEES OF THE ESTATE OF
                BERNICE PAUAHI BISHOP


         Wendy F. Hanakahi of Dentons US LLP hereby gives notice of her

appearance as counsel for Defendants Elliot Kawaihoʻolani Mills, Crystal Kauilani

Rose, Jennifer Noelani Goodyear-Ka‘ōpua, Michelle Kaʻuhane, and Robert

K.W.H. Nobriga, Trustees of the Bernice Pauahi Bishop in the above-referenced

matter.

         DATED: Honolulu, Hawai`i, December 7, 2023.

                                       /S/ WENDY F. HANAKAHI
                                      PAUL ALSTON
                                      NICKOLAS A. KACPROWSKI
                                      WENDY F. HANAKAHI
                                      NATHAN P. SHIMODOI
                                      Attorneys for Defendants
                                      ELLIOT KAWAIHO‘OLANA MILLS,
                                      CRYSTAL KAUILANI ROSE,
                                      JENNIFER NOELANI GOODYEAR-
                                      KA‘ŌPUA, MICHELLE KA‘UHANE,
                                      ROBERT K.W.H. NOBRIGA, TRUSTEES
                                      OF THE ESTATE OF BERNICE PAUAHI
                                      BISHOP




10108348\000072\125659826\V-1
